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Attorneys for Defendant, Peninsula Airways, Inc.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
TEDDY O. MATSON, Individually
and as Personal Representative
of the Estate Of RENEE MARTHA
MATSON,
Plaintiff,
v.
PENINSULA AIRWAYS, INC.,

Defendant. Case No. 3:08-cV

 

 

NOTICE OF REMOVAL FROM STATE COURT

 

TO: The United States District Court
For the District of Alaska

AND TO: Neil T. O’Donnell
ATKINSON, CONWAY & GAGNON
420 L Street, Suite 500
Anchorage, Alaska 99501

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Defendant, Peninsula Airways, Inc., hereby gives
notice that pursuant to 28 U.s.c. §§ 1331, 1332(@)(1), 1441
and 1446, it has this day filed in the United States District
Court for the District of Alaska this Notice of Removal of the

following action: Teddy O. Matson, Individually and as

 

Personal Representative of the Estate of Renee Martha Matson

vs. Peninsula Airways, Inc., filed in the Superior Court for

 

the State of Alaska, Third Judicial District at Naknek, Case No.
3NA-0?-009 Civil. You are also notified that the defendant has
filed a copy of this Notice with the Clerk of the Superior Court
for the Third Judicial District at Naknek, and that the action
has thereby been removed from the Superior Court to the United
States District Court. §§e Exhibit A (“Notice of Removal to
United States District Court” without attachments).

The grounds for removal are as follows: plaintiff’s
action arises under the laws of the United States. 28 U.S.C.
§§ 1331 and l44l(b). Plaintiff’s Amended Complaint alleges
that the pilot of the flight, Andrew Simonds, was negligent
with respect to the flight in question. The Amended Complaint
alleges that Peninsula Airways, Inc., negligently and
recklessly failed to ‘train_ and supervise Mr. Simonds. The

Amended Complaint further alleges that Peninsula Airways was

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negligent and reckless in failing to advise or direct Mr.
Simonds not to make the flight in question. §ee Exhibit B,
Amended Complaint.

Statutory federal question jurisdiction extends to
cases in which a federal question appears on the face of a

well-pleaded complaint. Republican Party of Guam v.

 

Gutierrez, 277 F.3d 1086, 1089 (9th Cir. 2002). Because
plaintiff's claims allege negligence in the operation of the
aircraft, the supervision of the pilot, the training of the
pilot, and in the management of the flight, they allege
violation of the Federal Aviation Regulations. The actions of
the pilot and airline are governed by Title 14 C.F.R. part 91
and 14 C.F.R. part 135, among other regulations. Montalvo v.
Spirit Airlines, 508 F.3d 464 (9th Cir. 2007), makes Federal
law the exclusive lawr applicable to claims against airlines
for negligent operation, of an aircraft, and supervision and
training of a pdlot, to the exclusion of state law. Under
Montalvo, plaintiff's claims of negligent operation, training
and supervision accordingly allege violation of the laws of
the United States, and thus allege a federal claim over which

this court has original jurisdiction.

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To the extent plaintiff claims that the aircraft was
negligently operated, plaintiff is alleging a right to relief
governed by a provision of the Federal Aviation Act. Under 14
C.F.R. § 91.3, Mr. Simonds, as the pilot in command of the
aircraft, was directly responsible for, and the final
authority as to, the operation of the aircraft. Given that
plaintiff claims the pilot was negligent because he flew into
clouds or poor visibility, plaintiff is alleging a violation
of the visual flight rules under which this aircraft was
operating, i.e., 14 C.F.R. § 91.155 and/or 14 C.F.R. §§
135.203 and 135.205, which require the pilot to maintain
certain minimum visibility. Any claim the pilot was otherwise
negligent in the flying of the aircraft alleges a violation of
14 C.F.R; § 91.13(a), which governs the standard of care, and
states:
No person may operate an aircraft in a careless or
reckless manner so as to endanger the life or
property of another.

14 C.F.R. 91.13(a).

The allegation of negligent training presents a
claim that PenAir violated the Federal Aviation Regulations.
Federal Aviation Administration (FAA) requirements for the

qualifications, experience and training of crew, and for duty

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time, are governed, in part, by 14 CFR §§ 135.243, 135.244,
and 135.247. With respect to training, 14 C.F.R. §
135.247(a)(ii)(D), requires that “within the preceding 12
months prior to the month of the flight, the pilot must have
completed a training program that is approved under part 142
of this chapter.” The FAA sets the standard for pilot
training, by regulating the contents of training programs of
air carriers, such as Peninsula Airways. Indeed, the FAA must
approve an air carrier’s training progranl and approved the
contents of the PenAir training program that Mr. Simonds was
required to complete. ld;; 14 C.F.R; §§ 135.321 to 135.353;
14 C.F.R. Part 142.

In the alternative, plaintiff's complaint presents a
federal clain1 that has been artfully' pled as a state court
claim. Even where a complaint does not plead a federal
question, an exception to the well-pleaded complaint rule
exists where a complaint is “artfully pleaded” to avoid

explicit reference to what is actually a federal claim. Rains

v. Criterion Sys. lnc., 80 F.3d 339, 344 (9th Cir. 1996).

 

In addition, this court has jurisdiction under the
complete preemption doctrine. Even where a claim has not been
artfully _ pleaded, cases are removable pursuant to an
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independent corollary to the well~pleaded complaint rule known
as the Vcomplete preemption” doctrine. §§in§, 80 F.3d at 344.
“Once an area of state law has been completely pre-empted, any
claim- purportedly based on that' pre-empted state law is
considered, from its inception, a federal claim, and therefore
arises under federal law.” 1§; at 344-45 (citations omitted).
Such a Cnmplaint raises a federal question under Alaska and
federal law, even if it does not specifically discuss a

federal statute. Schaub v. K & L Distributors, lnc., 115 P.3d

 

555, 560 (Alaska 2005), quoting Caterpillar Inc. v. Williams,

 

482 U.S. 386, 393, 107 S. Ct. 2425 (1987).

Thus, plaintiffs’ complaint alleges a 'violation of
federal - not state law.

This motion is timely filed as suit was served on_
defendant Peninsula Airways, lnc., on April 28, 2008.

Based on the above, this court has both original and
removal (federal question) jurisdiction over this action and
defendant is entitled to remove this action from the Superior

Court for the State of Alaska.

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DATED this 16th day ~of May, 2008, at Anchorage,

Alaska.

By: /s/ Marc G. Wilhelm

 

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By: /s/ Robert L. Richmond

 

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Alaska Bar No. 7011069

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and
correct copy of the foregoing was
served by mail this 16th day of
May, 2008 on:

Neil T. O’Donnell
ATKINSONVCONWAY & GAGNON, INC.
420 L Street, Suite 500
Anchorage, Alaska 99501

/s/ Marc G. Wilhelm
RICHMOND & QUINN

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